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                                                                    I# 192039859


TO:            Assistant District Attorney John Verner,
               SCDAO, Homicide Unit

FROM:          Detective Timothy C. Evans
               Boston Police Homicide Unit

SUBJECT:       Homicide Victim-Family Notification Information



•   Date of Incident:    05/28/2019

•   Location of Incident: 650 Harrison Ave

•   (Victim) Cristhian Geigel (DOB               ) –Homeless

•   Family Contact Information:

    o (Daughter): Michelle Geigel                     (21 YOA)
    o (Ex-wife) : Jannette Geigel-Gonzalez




Both above live at:


36 Bishop Joe L. Smith Way #103
Dorchester, MA




                                                                 COB000180
